          Case 1:20-cv-02283-RDB Document 7 Filed 10/29/20 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

STRIKE 3 HOLDINGS, LLC,                         )
                                                )
       Plaintiff,                               )   Civil Case No. 1:20-cv-02283-RDB
                                                )
v.                                              )
                                                )
JOHN DOE subscriber assigned IP address         )
71.245.164.42,                                  )
                                                )
       Defendant.                               )
                                                )

                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                           WITH PREJUDICE OF JOHN DOE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Strike 3 Holdings,

LLC hereby gives notice that its claims in this action against Defendant John Doe, subscriber

assigned IP address 71.245.164.42, are voluntarily dismissed with prejudice.

       Dated: October 29, 2020                      Respectfully submitted,


                                                    By: /s/ Elsy Ramos Velasquez
                                                    Elsy Ramos Velasquez, Esq.
                                                    eramosvelasquez@clarkhill.com
                                                    Clark Hill PLC
                                                    1001 Pennsylvania Ave NW
                                                    Suite 1300 South
                                                    Washington, DC 20004
                                                    Tel.: 202-552-2357
                                                    Fax: 202-552-2381
                                                    Attorneys for Plaintiff




                                                1
          Case 1:20-cv-02283-RDB Document 7 Filed 10/29/20 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2020, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record

and interested parties through this system.


                                                      By: /s/ Elsy Ramos Velasquez
                                                      Elsy Ramos Velasquez, Esq.




                                               2
